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                     JEFFREY JAMES MILLS                                      )                       20'9 29-   t\4

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                                                         CRIMINAL COMPLAINT
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18 U S.C. 2252\al(2)                                   Receipt and attempled receipt of child pornography


See Attachment A




          This criminal complailt is bascd on these lbcrs:

See attached Afrdavit




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                     06/03/2020                                                                        /s/ Honorable Henry S. Perkin
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                    AFFIDAVIT IN SUPPORT OF ARREST WARRANT

                                        Cr. No.20-929-M

        I, Christopher M. Duncanson, a Special Agent with the Federal Bureau ol Investigation

(FBI), Philadelphia Division, being duly swom, depose and state as follows:

        l.     I am a Special Agent ofthe Federal Bureau of Investigation (FBI), United States

Department of Justice. I have been employed as a Special Agent of the FBI since April 2004. I

am currently assigned to the Philadelphia Division, Allentown Resident Agency, working cases

involving online crimes against children. While employed by the FBI, I have investigated federal

criminal violations related to high technology or cybercrime, child exploitation, and child

pomography. I have gained experience through training and everyday work related to

conducting these types of investigations. I have received training in the area of child

pomography and child exploitation and have had the opportunity to observe and review

numerous examples of child pomography (as defined in 18 U.S.C. $ 2256) in all forms of media

including computer media. As a federal agent, I am authorized to investigate violations of laws

of the United States and am a "federal law enforcement officer" within the meaning ofFed. R.

Crim. P. al(a)(2)(C). I have participated in investigations ofpersons suspected ofviolating

federal child pomography laws, including Title 18, United States Code, Section 2252. I have

also participated in various FBl-mandated and other training for the investigation and

enforcement of federal statutes prohibiting the production, distribution, and possession of child

pomography.

       2.      As a Federal Agent, I am authorized to investigate violations oflaws ofthe

United States and to execute warrants issued under the authority ofthe United States.
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        3.      The statements in this Affidavit are based, in part, on information provided by

other investigators, and on my investigation of this matter. Since this affidavit is being

submitted for the limited purpose ofsecuring an arrest warrant, I have not included each and

every fact known to me conceming this investigation.

        4.      As will be shown below, there is probable cause to believe that JEFFREY JAMES

MILLS   has committed and attempted to commit violations        of l8 U.S.C. Section 2252(a)(2),

receipt of child pomography.

                         BACKGROUND OF THE INVESTIGATION

        5.      On November 20, 2019, law enforcement computers connected to a peer-to-peer

file sharing network identified   a computer user at IP address 216.15.93.222 who was requesting


to download child pomography files. These files were known to law enforcement to contain

images or videos ol known and previously identified child pomography. Your Affiant viewed

these exact images and videos and confirmed that they contained child pomography, as defined

by 18 U.S.C.   $ 2256.

        6.       On or about   April 1,2020   an administrative subpoena was provided to RCN

Telecom Services, LLC for subscriber information relating to the use of IP address

216.15.93.222 at the time of the request, on November 20, 2019, between 6:10 PM UTC and

10:57 PM   UTC.    The response by RCN identified the account holder as JAMES BUCHANAN

of 2750 Helen Street, Allentown, Pennsylvania     18 104.


        7.      Your Affiant confirmed through Lehigh County assessment records, a check           of

publicly available databases, and   a records check    with the Pennsylvania Department of

Transportation that an individual named JAMES BUCHANAN, with a date of birth of February

18, 1978, resides at 2750 Helen Street, Allentown, Pennsylvania 18104.



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       8.       On May 28,2020, your Affiant obtained a federal search warrant to search the

residence at 2750 Helen Street, Allentown, Pennsylvania 18104. See Crim. No.20-845-M.

       9.       On June 3, 2020 this search warrant was executed at 2750 Helen Street in

Allentown, Pennsylvania. JAMES BUCHANAN was not present at that time, and the only

occupant of the home was JEFFREY JAMES MILLS, date of birth August 31, 1980.

        10.     JEFFREY JAMES MILLS advised he lives in the home at 2750 Helen Street,

Allentown, Pennsylvania 18104, and rented a room on a monthly basis from JAMES

BUCHANAN. MILLS advised BUCHANAN was not home and had left lor work before vour

Affiant arrived at the home.

       11.      JEFFREY JAMES MILLS voluntarily spoke with your Affiant and identified a

black custom-built Thermaltake computer      towfl in the basement    as his   computer. He further

told your Affiant that he was the only one who used that particular machine and BUCHANAN

never used   it. MILLS   admitted to accessing the same per-to-peer network identified by law

enforcement that MILLS used to access and download images and videos of child pomography

on November    20,2019. MILLS said     he   typically downloads pomographic images and videos of

girls around the age of 10, and sometimes younger. He described for investigators the location

on his computer where these files could be found.

       12.      An on-site preview was conducted of JEFFREY JAMES MILLS' black custom-

built Thermaltake computer tower, serial number VN700M1W2N1l 12003326, which revealed at

least 600 images and videos    ofchild pornography,   as   it is defined in l8 U.S.C. $ 2256. The

majority of these images and videos depicted pre-pubescent male and female children, some           of

whom were engaged in acts of oral and vaginal sex.




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probable cause lo believe that .ll'.FFREY JAlvtES I\4ll.l.S has comnriued and atternplcd to

commit violations of I {t Ll.S.C.        N   2252(aX2). rcccipl:urd attempted reccipt olchrld pornographl.

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                                     ATTACHMENT A

                                       Count One
     Receirrt/Attempted Receipt of Child Pornosraphv     - l8 U.S.C. S 2252(aX2), (bXl)
On or about November 20, 2019, in Allentown, Pennsylvania, in the Eastem District ol
Pennsylvania, defendant JEFFREY JAMES MILLS knowingly received and attempted to
receive a visual depiction using any means and facility of interstate and foreign commerce,
including by computer, the producing of which involved the use of a minor engaged in sexually
explicit conduct, and the visual depiction was of such conduct.




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